               Case 17-51607-grs                  Doc 1     Filed 08/09/17 Entered 08/09/17 15:06:29                              Desc Main
                                                            Document      Page 1 of 13
Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF KENTUCKY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Corbett-Frame, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Corbett-Frame Jewelers
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  369 West Vine St.
                                  Lexington, KY 40507
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fayette                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                 Case 17-51607-grs                  Doc 1        Filed 08/09/17 Entered 08/09/17 15:06:29                                   Desc Main
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Debtor    Corbett-Frame, Inc.                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




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Debtor   Corbett-Frame, Inc.                                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Corbett-Frame, Inc.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 9, 2017
                                                  MM / DD / YYYY


                             X   /s/ Jennifer Lykins                                                      Jennifer Lykins
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Jamie L. Harris                                                       Date August 9, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jamie L. Harris
                                 Printed name

                                 DelCotto Law Group PLLC
                                 Firm name

                                 200 North Upper St.
                                 Lexington, KY 40507
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (859) 231-5800                Email address


                                 KY Bar No. 91387
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Corbett-Frame, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 9, 2017                          X /s/ Jennifer Lykins
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jennifer Lykins
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Corbett-Frame, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                KENTUCKY
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                credit card                                                                                              $10,062.14
 P O Box 981535
 El Paso, TX 79998
 Chase Bank                                                      business credit                                                                                          $43,783.81
 P O Box 1423                                                    cards (3) (a/c
 Charlotte, NC 28201                                             #0168;
                                                                 6384;21554)
 Crestview Financial                                             cash advance                                       $140,000.00                        $0.00            $140,000.00
 dba In Advance                                                  loan
 Working Capital
 Now
 1450 Broadway
 Suite 802
 New York, NY 10018
 Fox Capital Group                                               cash advance                                                                                             $87,000.00
 Inc.                                                            loan - preference
 140 Broadway
 46th Floor
 New York, NY 10005
 Gumuchian-Flis                                                  trade debt                                                                                                 $9,280.00
 16 East 55nd St.
 New York, NY 10017
 High Speed Capital                                              cash advance                                                                                             $68,000.00
 LLC                                                             loan - preference
 30 Broad Street
 14th Floor
 New York, NY 10004
 Hilton Hotel                                                    trade debt                                                                                                 $7,500.00
 369 West Vine St.
 Lexington, KY 40507
 Janel Shell                                                     loan                                                                                                   $176,000.00
 2906 Park Lake Dr.
 Bradenton, FL 34209
 John and Anne                                                   loan                                                                                                     $25,000.00
 Weichel
 4722 Pinnacle Dr.
 Bradenton, FL 34208


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Corbett-Frame, Inc.                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 King Family Trust                                               loan                                                                                                   $100,000.00
 214 College St.
 Barbourville, KY
 40906
 Mastoloni                                                       trade debt                                                                                                 $5,333.83
 415 Madison Ave.
 22nd Floor
 New York, NY 10017
 Merchant Cash and                                               cash advance                                       $200,000.00                        $0.00            $200,000.00
 Capital dba Bizfi                                               loan
 460 Park Avenue
 South
 10th Floor
 New York, NY 10016
 Pete and Bonnie                                                 loan                                                                                                     $50,000.00
 Sobel
 306 Lindleigh Dr.
 Nicholasville, KY
 40356
 Richard Barbello                                                loan                                                                                                   $265,000.00
 3059 Clair Rd.
 Lexington, KY 40502
 Richard Johnson                                                 loan                                                                                                     $20,000.00
 3200 Todds Rd.
 Apt. 1213
 Lexington, KY 40509
 Royal Pearl                                                     trade debt                                                                                                 $7,085.87
 Company
 17 North Wabash
 Suite 420
 Chicago, IL 60602
 Stuller                                                         trade debt                                                                                               $13,214.31
 P O Box 8777
 Lafayette, LA 70598
 Susan Lykins                                                    loan                                                                                                     $33,000.00
 265-B Fontaine
 Circle
 Lexington, KY 40502
 US Bank, N.A.                                                   credit card                                                                                              $11,323.52
 9918 Hibert St.
 2nd Floor
 San Diego, CA
 92131
 US Bank, N.A.                                                   credit line                                        $136,717.08                        $0.00            $136,717.08
 9918 Hibert St.
 2nd Floor
 San Diego, CA
 92131




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                     Eastern District of Kentucky
 In re      Corbett-Frame, Inc.                                                                                       Case No.
                                                                                      Debtor(s)                       Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Jennifer Lykins                                                     President         51%                                       Member
 225 Henry Clay Blvd.
 Lexington, KY 40502

 Michael Lykins                                                      Vice President    49%                                       Member
 225 Henry Clay Blvd.
 Lexington, KY 40502


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date August 9, 2017                                                             Signature /s/ Jennifer Lykins
                                                                                             Jennifer Lykins

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Eastern District of Kentucky
 In re      Corbett-Frame, Inc.                                                                              Case No.
                                                                                   Debtor(s)                 Chapter    11




                                          VERIFICATION OF MAILING LIST MATRIX


            I, the President of the corporation named as the petitioner(s) in the above-styled bankruptcy action, declare under penalty of

perjury that the attached mailing list matrix of creditors and other parties in interest consisting of 3 page(s) is true and correct and

complete, to the best of my (our) knowledge.




 Date:       August 9, 2017                                             /s/ Jennifer Lykins
                                                                        Jennifer Lykins/President
                                                                        Signer/Title



I,        Jamie L. Harris           , counsel for the petitioner(s) in the above-styled bankruptcy action, declare that the attached Master
Address List consisting of 3 page(s) has been verified by comparison to Schedules D through H to be complete, to the best of my
knowledge. I further declare that the attached Master Address List can be relied upon by the Clerk of Court to provide notice to all
creditors and parties in interest as related to me by the debtor(s) in the above-styled bankruptcy action until such time as any
amendments may be made.




 Date: August 9, 2017                                                   /s/ Jamie L. Harris
                                                                        Signature of Attorney
                                                                        Jamie L. Harris
                                                                        DelCotto Law Group PLLC
                                                                        200 North Upper St.
                                                                        Lexington, KY 40507
                                                                        (859) 231-5800 Fax: (859) 281-1179




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                         American Express
                         P O Box 981535
                         El Paso TX 79998


                         Chase Bank
                         P O Box 1423
                         Charlotte NC 28201


                         Church and Co.
                         2121 Whitesville Rd.
                         Toms River NJ 08755


                         Corporation Service Company,
                         as Representative
                         P O Box 2576
                         Springfield IL 62708


                         Crestview Financial
                         dba In Advance Working Capital Now
                         1450 Broadway
                         Suite 802
                         New York NY 10018


                         David Yurman Enterprises LLC
                         24 Vestry Street
                         New York NY 10013


                         Fox Capital Group Inc.
                         140 Broadway
                         46th Floor
                         New York NY 10005


                         Gumuchian-Flis
                         16 East 55nd St.
                         New York NY 10017


                         Harry Cohen
                         842 McMeekin Place
                         Lexington KY 40503


                         High Speed Capital LLC
                         30 Broad Street
                         14th Floor
                         New York NY 10004
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                     Hilton Hotel
                     369 West Vine St.
                     Lexington KY 40507


                     Internal Revenue Service
                     P.O. Box 7346
                     Philadelphia PA 19101-7346


                     Janel Shell
                     2906 Park Lake Dr.
                     Bradenton FL 34209


                     John and Anne Weichel
                     4722 Pinnacle Dr.
                     Bradenton FL 34208


                     King Family Trust
                     214 College St.
                     Barbourville KY 40906


                     KY Dept. of Revenue
                     Legal Branch - Bankruptcy Section
                     P. O. Box 5222
                     Frankfort KY 40602


                     Mastoloni
                     415 Madison Ave.
                     22nd Floor
                     New York NY 10017


                     Merchant Cash and Capital dba Bizfi
                     460 Park Avenue South
                     10th Floor
                     New York NY 10016


                     Pete and Bonnie Sobel
                     306 Lindleigh Dr.
                     Nicholasville KY 40356


                     Ralph Currie
                     2920 Sweet William Court
                     Lexington KY 40502
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                     Richard Barbello
                     3059 Clair Rd.
                     Lexington KY 40502


                     Richard Johnson
                     3200 Todds Rd.
                     Apt. 1213
                     Lexington KY 40509


                     Royal Pearl Company
                     17 North Wabash
                     Suite 420
                     Chicago IL 60602


                     Stuller
                     P O Box 8777
                     Lafayette LA 70598


                     Susan Lykins
                     265-B Fontaine Circle
                     Lexington KY 40502


                     Tyco
                     P O Box 371967
                     Pittsburgh PA 15250


                     US Bank, N.A.
                     9918 Hibert St.
                     2nd Floor
                     San Diego CA 92131
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                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re      Corbett-Frame, Inc.                                                                            Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Corbett-Frame, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 9, 2017                                                        /s/ Jamie L. Harris
 Date                                                                  Jamie L. Harris
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Corbett-Frame, Inc.
                                                                       DelCotto Law Group PLLC
                                                                       200 North Upper St.
                                                                       Lexington, KY 40507
                                                                       (859) 231-5800 Fax:(859) 281-1179




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